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IN THE UNITED STATES DISTRICT COURT Ay \
FOR THE DISTRICE OF MARYLAND a, 4 ay
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JONATHAN T. ALSTON, ) 2a BE <P ®
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Plaintiff, ) 2 oF
) = %,
V. ) Case No. 8:16-cv-03697 (PJM)
)
ORION PORTFOLIO SERVICES, LLC __)
ET AL. )
)
Defendants. )
NOTICE OF APPEAL

Notice is hereby given that Plaintiff, Jonathan T. Alston, appeals to the United States Court
of Appeals for the Fourth Circuit from the ORDER [DOC 117] entered on December 7, 2021, that
DENIED Plaintiff's Motion for Relief from Judgment, the ORDER [DOC 58] entered on

September 18, 2918, that DENIED Plaintiff's Motion to Enforce Settlement Agreement.

Respectfully submitted,

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Top T. Alston
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Tel: (301) 538-8095
Pro Se Plaintiff

 
